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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    PRESCRIPTION ADVISORY SYSTEMS & Case No. 18-12601
    TECHNOLOGY, INC., 1

                            Debtor.


    DECLARATION OF RICHARD G. BUNKER, JR. IN SUPPORT OF THE DEBTOR’S
         CHAPTER 11 PETITION AND REQUESTS FOR FIRST DAY RELIEF

             I, RICHARD G. BUNKER, JR., hereby declare, under penalty of perjury, as follows:

             1.    I am the Chief Executive Officer (“CEO”) of the above-captioned debtor and

debtor-in-possession Prescription Advisory Systems & Technology, Inc. (“PAST” or the

“Debtor”). I have served as CEO of PAST since, 2014 after I co-founded the company in 2013. I

am also a member of the Board of Directors, and equity holder, and a holder of unsecured notes.

             2.    As CEO, I am responsible for assisting in the management of PAST’s operations,

overseeing PAST’s liquidity management, and assisting with the restructuring process of PAST.

In my capacity as CEO of PAST for more than four years, I am familiar with the operations and

financial affairs of PAST.

             3.    I submit this declaration (the “First Day Declaration”) in support of the Debtor’s

chapter 11 petition and requests for relief contained in certain “first day” applications and motions

filed on or shortly after the date hereof (the “First Day Motions”). 2

             4.    On November 13, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The



1
  The last four numbers of the Debtor’s tax identification number are 2743. The Debtor’s corporate address is 312
Summit Avenue, Jenkintown, Pennsylvania 19046.
2
  All capitalized terms used but not otherwise defined herein have the meanings ascribed in the applicable First Day
Motion.

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Debtor continues to operate its businesses and manage its property as a debtor-in-possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       5.        Except as otherwise indicated herein, all facts set forth in this First Day Declaration

are based upon my personal knowledge of the Debtor’s operations and finances, information

learned from my review of relevant documents, information supplied to me by other members of

the Debtor’s management and the Debtor’s advisors, or my opinion based on my experience,

knowledge, and information concerning the Debtor’s operations and financial condition. I am

authorized to submit this First Day Declaration on behalf of the Debtor, and, if called upon to

testify, I could and would testify competently to the facts set forth herein.

       6.        Part I of this First Day Declaration provides a brief overview of the Debtor and a

summary of this chapter 11 case (collectively, the “Chapter 11 Case”). Part II of this First Day

Declaration describes in more detail the Debtor’s business, corporate structure and history, capital

and debt structure, developments which led to the Debtor’s chapter 11 filings, and the Debtor’s

goals during these Cases. Part III sets forth the relevant details of the various First Day Motions.

                                     I.      INTRODUCTION

       7.        PAST is an emerging medical technology and software company. PAST improves

prescribers’ and dispensers’ regulatory compliance and quality of care by integrating the mandated

check of the state prescription drug monitoring program (the “PDMP”) into the electronic health

record (“EHR”) and pharmacy management systems used by health professionals. This saves users

at least two minutes per encounter, satisfies their regulatory obligation, provides a better

understanding of every patient’s controlled substance prescription history, and improves patient

care. PAST provides a digital health SaaS used by nearly 2,000 health professionals across the

United States.




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       8.        Despite PAST’s progress in developing, implementing, and deploying its services

to health care professionals and providers, it has struggled for nearly its entire existence to attract

the capital necessary for sustainable expansion and growth of its business. PAST has continually

sought seed-money investment into the business, almost all of which was done by investors on an

unsecured basis. The management of PAST continues to concentrate on expanding business

growth opportunities. In particular, PAST is currently in discussions with certain health care

providers to secure long-term contractual commitments for its services. PAST anticipates that

these potential contractual commitments will materialize into sustainable revenue-generating

opportunities, which when obtained will clear the path for PAST to be a successful and profitable

business going for the foreseeable future.

       9.      Notwithstanding the real potential for a successful business, over the last few

months, PAST has been in discussions with its stakeholders, including the various noteholders, to

negotiate restructuring alternatives and a “clean-up” of the balance sheet. PAST proposed a

restructuring of its liabilities whereby the unsecured noteholders would convert their debt to equity

in PAST.     PAST received substantial support for this proposal from the noteholders, but

unfortunately was unable to gain unanimous support. In particular, three (3) noteholders (the

“Dissident Noteholders”) have refused to join in this restructuring proposal and have threatened

litigation against PAST.

       10.      Faced with past and impending maturity dates on some of the notes, and the threat

of litigation by the Dissident Noteholders, PAST had no other choice but to commence the Chapter

11 Case with the goal to effectuate the restructuring proposed over the last few months. With the

expected increase in business and revenue, PAST expects to come out of bankruptcy in short order

with a cleaner balance sheet and profitable business.




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                                   II.      BACKGROUND

A.     Business Operations

       11.     As stated, PAST is a provider of services that improves prescribers’ and dispensers’

regulatory compliance and quality of care by integrating the mandated check of the state PDMP

into the EHR and pharmacy management systems used by health professionals. PAST’s primary

customers include hospital systems and physician practices and pharmacies.

       12.     PAST maintains a website at http://www.pastrx.com.

       13.     PAST is headquartered in Jenkintown, Pennsylvania, and presently operates

primarily in Pennsylvania.

       14.     PAST has 6 employees, with 3 full-time salaried employee and 3 full-time

employees receiving commission and benefits. PAST revenues have hit their highest level as of

October 31, 2018 with recurring gross revenue of approximately $545,000 up from approximately

$34,000 in 2016 and $352,000 in 2017. PAST anticipates that its revenues will be significantly

higher in 2018, and its expects to approach break-even profitability by first quarter 2019.

B.     Corporate Structure

       15.     PAST is a privately-held Delaware corporation formed in 2013

       16.     PAST’s Board of Directors (the “Board”) consists of three (3) directors, of which I

am one of the members of the Board.

C.     Capital and Debt Structure

       17.     As an emerging company, since inception PAST has relied on continued cash

infusions from investors as it has grown its business. PAST historically has not been, and is not




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today, able to finance itself solely from its operational cash flows. Set forth below is a description

of PAST’s capital and funded debt structure as of the date hereof.

          Secured Debt

          18.        Prior to the Petition Date, in order to fund the prepetition retainer for PAST to

engage bankruptcy counsel, Will Bast (the “DIP Lender”) provided an advance on the DIP Facility

in the amount of $20,000.00 in the form of a prepetition secured promissory note (the “Secured

Prepetition Promissory Note”). The funding provided under the Secured Prepetition Promissory

Note enabled PAST to continue preparation for this bankruptcy petition. Pursuant to the Secured

Prepetition Promissory Note, the total prepetition funding provided by the DIP Lender of

$20,000.00 is secured by a first priority and duly perfected lien on substantially all of the Debtor’s

assets.

          Unsecured Debt – Senior Notes

          19.        PAST is indebted to numerous unsecured noteholders for promissory notes (the

“Unsecured Notes”) as set forth below:

                 Investor                               Issued    Matures    Total Due at
                                        Principal                             Maturity
 Chuck Hadley                            $29,000       6/26/18    12/31/18     $59,208
 Steve Cloetingh                         $29,000       6/26/18    12/31/18     $59,208
 Eric Corkhill                            $6,000       6/26/18    12/31/18     $12,250
 Rick Bunker                              $1,000       6/26/18    12/31/18      $2,042
 Will Bast                               $20,000       6/26/18    12/31/18     $40,833
 Matthew Reichert                        $29,000       6/26/18    12/31/18     $59,208
 Daniel Endy                             $20,000       6/26/18    12/31/18     $40,833
 Sub Tot - Senior Notes                 $134,000                               $273,583
 Joseph B. Studholme                    $150,000       1/29/15    1/29/18      $163,512
 R. Ross Holloway                       $30,000        10/13/13   10/14/18     $32,493
 Leigh Gibson                           $50,000         3/2/14     3/3/19      $54,605
 Ben Franklin Tech. Prtns.              $150,000        3/1/15    3/31/20      $211,052
 Ben Franklin Tech. Prtns.              $135,000       5/14/15    3/31/20      $187,757
 Ben Franklin Tech. Prtns.              $15,000        10/16/15   3/31/20      $20,352
 Ben Franklin Tech. Prtns.              $100,000       3/15/16    3/31/21      $140,373
 Ben Franklin Tech. Prtns.              $83,250        3/31/16    3/31/21      $116,568
 Ben Franklin Tech. Prtns.              $16,750         5/1/16    3/31/21      $23,340
 Ben Franklin Tech. Prtns.              $75,000        7/20/17    3/31/22      $103,192
 Ben Franklin Tech. Prtns.              $75,000         8/1/17    3/31/22      $102,995




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 Sub Tot - Notes                      $880,000                             $1,156,239
 Ryan Clark                           $25,000        2/23/18     2/23/20    $31,500
 David Donald                         $50,000        2/23/18     2/23/20    $63,000
 Chuck Hadley                         $25,000        2/23/18     2/23/20    $31,500
 Will Bast                            $25,000        2/23/18     2/23/20    $31,500
 Steve Cloetingh                      $10,000        7/12/18     7/12/19    $11,800
 Will Bast                            $10,000        7/12/18     7/12/19    $11,800
 Matthew Reichert                     $25,000        2/23/18     2/23/20    $31,500
 Steve Cloetingh                      $100,000       5/10/18     5/10/20    $126,022
 Sub Tot - Unsecured Notes            $270,000                              $338,622
 Chuck Hadley                          $25,000       12/16/16   12/15/21    $35,000
 Chuck Hadley                          $20,000       10/16/17   10/15/22    $28,000
 Daniel Endy                           $40,000       11/16/17   11/15/22    $56,000
 David Stengle                         $70,000       10/16/17   10/15/22    $98,000
 Eric Corkhill                         $25,000       3/16/17    3/15/22     $35,000
 Eric Corkhill                        $25,000        4/16/17     4/15/22    $35,000
 Eric Corkhill                        $15,000        2/24/15     2/23/20    $21,000
 Larry Dillon                         $35,000        2/24/15     2/23/20    $49,000
 Matthew Reichert                     $15,000        2/24/16     2/23/21    $21,000
 Matthew Reichert                     $15,000        2/24/16     2/23/21    $21,000
 Rick Bunker                          $100,000       2/24/16     2/23/21    $140,000
 Steve Cloetingh                      $100,000       2/24/16     2/23/21    $140,000
 Steve Cloetingh                      $50,000        2/24/16     2/23/21    $70,000
 Vince Mendola                        $12,500        2/24/15     2/23/20    $17,500
 Vince Mendola                         $2,500        2/24/15     2/23/20     $3,500
 Will Bast                            $50,000        2/24/16     2/23/21    $70,000
 Sub Total - Conv Notes               $600,000                              $840,000
 Total Debt                           $1,884,000                           $2,608,444




          20.       The Unsecured Notes issued by PAST have varying maturity dates and priority

levels as set forth above.

          Unsecured Debt – Factoring Agreement

          21.       In June 2018, PAST entered the ACH Total Receipts Agreement for Purchase and

Sale of Interest in Total Receipts (the “Factoring Agreement”) with MCA Fixed Payment LLC

d/b/a Reliant Funding (“Reliant”). Reliant provided funding of $48,500.00 to PAST in exchange

for an interest in PAST’s collection of certain receivables. The current amount to Reliant under

the Factoring Agreement is $18,200, and PAST is current in its payments to Reliant. PAST

believes that the Factoring Agreement is unsecured.

          Unsecured Debt – Trade and Miscellaneous Debt


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         22.    As of the Petition Date, PAST owed approximately $170,000.00 in trade debt and

$454,376 unsecured notes payable to executives for compensation not paid (2015-10/31/18) and

another approximately $50,000 in unpaid advances from executives for business expenses paid by

the executives on behalf of the company.

         Equity Interest

         23.    PAST has issued and outstanding both common stock and preferred stock Series A.

There are 1,800,000 shares of common stock currently outstanding with Stuart Leeds, Richard

Bunker and Adrienne Redd being the largest holders of common stock. The preferred stock has

preferred rights with respect to liquidation and other corporate actions. There are 3,780,423 shares

of preferred stock currently outstanding with Richard Bunker and Adrienne Redd being the largest

holders of preferred stock. In addition, certain of the noteholders have convertible features in their

Unsecured Notes that allow for conversion of the debt into equity. PAST has no publicly traded

stock.

E.       Debtor’s Goals in These Chapter 11 Cases

         24.    PAST intends to use this Case to pursue and complete the restructuring of the

company that was contemplated prior to the Petition Date. In particular, PAST will soon propose

a plan of reorganization, with the expected approval of its unsecured creditor body, including

noteholders, which will propose a debt for equity swap of the Unsecured Notes and payment to all

other unsecured creditors. With the expected increase in revenues, and the cleaner balance sheet

once this reorganization is approved and completed, the management of PAST expects that it will

emerge from bankruptcy as a successful and profitable business.

                               III.      FIRST DAY MOTIONS

A.       Motion of the Debtors for Entry of an Interim Order and Final Order (A) Authorizing
         the Maintenance of Bank Accounts and Continued Use of Existing Business Forms



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       and Checks, (B) Authorizing the Continued Use of Existing Cash Management
       Systems, and (C) Granting Limited Relief from the Requirements of Bankruptcy
       Code Section 345(B) (the “Cash Management Motion”)

       25.     By the Cash Management Motion, the Debtor seeks entry of interim and final orders

(i) authorizing the maintenance of its Bank Accounts and continued use of existing Business

Forms; (ii) authorizing but not directing the continued use of their existing Cash Management

System; and (iii) providing any additional relief required in order to effectuate the foregoing. The

Debtor also requests the right, in their discretion, to (i) pay any Bank Account related fees; and (ii)

close or otherwise modify the terms of certain of the Bank Accounts and open new debtor-in-

possession accounts as may be necessary to facilitate the Chapter 11 Case and their operations, or

as may otherwise be necessary to comply with the requirements of any debtor-in-possession

financing and/or cash collateral order entered in the Chapter 11 Case.

       26.     Further, the Debtor requests that the Court waive the requirements of Bankruptcy

Code section 345(b) on an interim basis and permit the Debtor to maintain their deposits in the

Bank Accounts in accordance with existing deposit practices until such time as the Debtor obtain

this Court’s approval to deviate from the guidelines imposed under Bankruptcy Code section

345(b) on a final basis. The Debtor’s existing deposit practices are significantly less burdensome

and more appropriately tailored to their business needs than the practices otherwise required under

the Bankruptcy Code and by the U.S. Trustee Guidelines.

       27.     The continued use of the Cash Management System and the Bank Accounts during

the pendency of these Cases is essential to the Debtor’s business operations. The Debtor believes

that the Bank Accounts and related Cash Management System mechanisms are well-suited to the

Debtor’s business needs and operations. To require the Debtor to close the Bank Accounts and

reestablish new accounts would not result in greater administrative controls and would require




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considerable time and expense to the Debtor’s estates. Moreover, permitting the Debtor to

continue using their existing Bank Accounts is essential to a smooth and orderly transition of the

Debtor into chapter 11 and to avoid disruption of their businesses and operations, including the

disruption that could result if checks written but not negotiated or cashed prior to the Petition Date

were dishonored.

        28.     The Cash Management System is a practical mechanism that allows the Debtor to

transfer their revenues to the payment of their obligations that decreases the burdens on the Debtor,

and that provides several important benefits, including the ability to: (i) control and monitor

corporate funds; (ii) ensure cash availability; (iii) accept certain foreign currencies; and (iv) reduce

administrative expenses by facilitating the movement of funds and the development of timely and

accurate balance and presentment information. Moreover, continued operation of the Cash

Management System is crucial to the Debtor’s ongoing business operations.

        29.     Without the relief requested, I believe the Debtor would be unable to effectively

and efficiently maintain their financial operations. Such a result would cause significant harm to

the Debtor’s businesses and the value of their estates. Accordingly, I believe that the relief

requested is in the best interest of the Debtor, their estates and creditors, and all parties in interest.

B.      Motion of the Debtor for Entry of an Interim Order and Final Order Authorizing the
        Debtor to Pay Prepetition Wages, Compensation, Employee Benefits and Other
        Associated Obligations (the “Employee Wages and Benefits Motion”)

        30.     By the Employee Wages and Benefits Motion, the Debtor seeks entry of entry of

interim and final orders (i) authorizing, but not directing, the Debtor to (a) pay and/or perform, as

applicable, prepetition obligations to current employees including accrued prepetition wages,

salaries, and other cash and non-cash compensation claims (collectively, the “Employee Wage

Obligations”); (b) maintain and continue to honor their practices, programs, and policies for their




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employees that were in effect as of the Petition Date, as such may be modified, amended or

supplemented from time to time in the ordinary course, including without limitation, the

continuation and maintenance of the Debtor’s various employee benefit plans and programs (and

to pay all fees and costs in connection therewith, including those that arose prepetition)

(collectively, the “Employee Benefit Obligations”); (c) reimburse Employees for prepetition

expenses incurred on behalf of the Debtor in the ordinary course of business (the “Employee

Expense Obligations”); (d) continue to pay and/or contest in good faith all amounts related to

workers’ compensation claims that arose prepetition (the “Workers’ Compensation Obligations”);

(e) pay all related prepetition withholdings and payroll-related taxes and deductions (the

“Employer Taxes and Deductions” and collectively with the Employee Wage Obligations,

Employee Benefit Obligations, Employee Expense Obligations and Workers’ Compensation

Obligations, the “Employee Obligations”) associated with the Employee Wage Obligations and

Employee Benefit Obligations; and (ii) authorizing and directing financial institutions to receive,

process, honor, and pay all related checks and electronic payment request for payment of any

prepetition Employee Obligations.

       31.     As of the Petition Date, PAST has 6 employees, with 3 full-time salaried employees

and 3 full-time employees receiving commission and benefits (the “Employees”).

       32.     The Debtor’s Employees perform a variety of critical functions, including

developing and selling the Debtor’s products and services, running their business and technical

operations, supporting customers, performing general and administrative services, providing

financial services, and other related tasks. The Employees’ skills, knowledge, and understanding

of the Debtor’s operations and business relations are essential to the effective operation of the

Debtor’s business.




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        33.      In the ordinary course of business, the Debtor incurs payroll obligations for salaries,

commissions and hourly wages owed to their Employees. Salaries and hourly wages for the

Employees are paid twice a month.             The average total monthly payroll obligations are

approximately $43,000.00 for the Employees. As of the Petition Date, the Debtor estimates that

it owes $26,745.79 to its Employees for prepetition Employee Wage Obligations (collectively, the

“Prepetition Wage Obligations”). The Debtor seeks the authority to pay and honor Prepetition

Wage Obligations in an amount not to exceed $30,000.00 in the aggregate for Employees, and to

continue to honor the Employee Wage Obligations on a postpetition basis in the ordinary course

of business.

        34.      The Employees are essential to the continued operation of the Debtor’s business,

and the Employees’ morale directly affects their effectiveness and productivity. Consequently, it

is critical that the Debtor continue, in the ordinary course, those personnel policies, programs, and

procedures that were in effect prior to the Petition Date. A loss of employee morale and goodwill

at this critical juncture would undermine the Debtor’s stability, and undoubtedly would have an

adverse effect on the Debtor, their customers, the value of their assets and businesses, and their

ability to achieve their objectives in chapter 11.

        35.      I believe that payment of all Prepetition Employee Obligations in accordance with

the Debtor’s prepetition business practices will enable the Debtor to retain their qualified and

highly-skilled employees and is in the best interests of the Debtor, their estates and creditors, and

all parties in interest.

D.      Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing Debtor to
        Obtain Post-Petition Financing, (II) Authorizing the Use of Cash Collateral, (III)
        Granting Liens and Superpriority Claims, (IV) Scheduling a Final Hearing, and (V)
        Granting Related Relief (the “DIP Financing Motion”)




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        36.    By the DIP Motion, the Debtor respectfully requests that the Court enter interim

and final orders (i) authorizing the Debtor to enter into senior secured and superpriority post-

petition financing (the “DIP Facility”) with Will Bast as lender under the DIP Facility (in such

capacity, the “DIP Lender”) (ii) authorizing the Debtor to use Cash Collateral; (iv) granting liens

and superpriority administrative claims to the DIP Lender pursuant to section 364 of the

Bankruptcy Code; and (iv) granting related relief. Specifically, by the DIP Motion, the Debtor

request interim and final authorization for it to obtain the DIP Facility, which if approved on a

final basis would consist of post-petition financing in a total amount of $120,000, inclusive of the

Roll-Up Loan in an amount equal to $20,000, subject to the terms and conditions of the DIP

Facility.

        37.    Unsecured financing is not available to the Debtor. The Debtor exhausted its

avenues to obtain any additional unsecured financing. The Debtor spoke to a number of outside

parties about lending either on an unsecured basis, or through a traditional DIP facility, but none

of those third parties ultimately expressed interest in doing so. Additionally, the Debtor explored

potential financing from its existing unsecured creditor body. The DIP Lender, who is a current

noteholder, was the only party that expressed interest in providing additional financing, but only

would do so if such financing was on a secured basis. The DIP Lender also expressed interest in

providing the financing in the form of a debtor-in-possession financing in the context of a chapter

11 case, which ultimately lead to the terms of the DIP Facility.

        38.    As discussed in detail above, this Chapter 11 Case follows several exhaustive yet

unavailing efforts by the Debtor to attract capital and consummate strategic transactions over the

past year. Faced with the depletion of remaining liquidity and the inability to obtain further

funding outside of chapter 11, the Debtor’s management took the steps they deemed necessary and




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exercised their best business judgment in negotiating the DIP Facility. The Debtor’s management

and the Board ultimately concluded that the DIP Facility will provide immediate access to capital

to pay their limited ongoing operating expenses while enabling the Debtor to the contemplated

reorganization.

       39.     Without this financing (and the funding provided prepetition under the Secured

Prepetition Promissory Note) the Debtor would most likely have liquidated under chapter 7 with

no chance for a recovery to their creditors. The DIP Facility is the Debtor’s best and only means

of obtaining the liquidity necessary to avoid a shutdown of their business, preserve going concern

value, and effectuate this reorganization.

       40.     The proceeds of the DIP Facility are sized to preserve and promote the viability of

the Debtor’s assets and support the Debtor through the anticipated pendency of this chapter 11

cases, but nothing more. Moreover, the financial terms and covenants of the DIP Facility are

standard and reasonable for financing of this kind.

       41.     Based on the Debtor’s negotiations regarding the DIP Facility, the terms of the DIP

Loan Documents constitute, on the whole, the most favorable terms the Debtor could achieve upon

which the DIP Lender will extend the necessary postpetition financing. Although the Debtor

explored whether the DIP Lender would provide the DIP Facility without certain provisions, in

the course of negotiations, the DIP Lender indicated it would not be willing to provide the DIP

Facility without such terms. In particular, the DIP Lender would not provide financing without

the provisions requiring, in particular, (i) the achievement of certain case milestones, including the

filing of a chapter 11 plan and a date certain for confirmation of said plan; (ii) the conversion of

the Senior Prepetition Promissory Note into a Roll-Up Loan under the DIP Facility; and (iii)

securing the DIP Facility with first-priority liens and superpriority claims.         These are key




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components of consideration for the DIP Lender without which it has indicated it is unwilling to

provide the DIP Facility.

        42.      Accordingly, the Debtor, in consultation with its advisors – recognizing the absence

of any competing financing proposals and the benefits to be provided under the DIP Facility –

determined that the terms of the DIP Facility were superior to any other set of terms reasonably

available to the Debtor at this time, and in fact the only available terms. Therefore, the DIP Facility

provides the Debtor with the best, most feasible, and value-maximizing financing option available

at this time.

        43.      Moreover, the Debtors have concluded that the economic terms of the DIP Facility

are fair and reasonable and are consistent with what can be expected in a debtor-in-possession

financing facility. In that regard, it is worth noting that the DIP Lender has not imposed any fees

on the Debtor for providing the DIP Facility. After thorough analysis by the Debtor and their

advisors, they have concluded that the terms of the DIP Facility are reasonable and appropriate

under the circumstances. The non-economic terms of the DIP Facility, including the case

milestones, are also within the range of what can be expected for a debtor-in-possession financing

facility, particularly considering the facts and circumstances of this Case, the nature of the Debtor’s

assets, and the extensive marketing and sale process that preceded this Case.

        44.      For these reasons, in the Debtor’s prudent business judgment, the terms of the DIP

Facility are fair and reasonable in the circumstances of the Case and the Debtor could not obtain

postpetition financing from any other lending source. Accordingly, I believe that the relief

requested in the DIP Motion is in the best interests of the Debtor, their estates and creditors, and

all parties in interest.

        .




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                                   IV.        CONCLUSION

       45.     For the reasons described herein and in the First Day Motions, I believe that the

prospect for achieving these objectives for the benefit of creditors and other stakeholders will be

substantially enhanced if the Court grants the relief requested in each of the First Day Motions and

respectfully request the Court to do so.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Dated: November 13, 2018

                                                        /s/ Richard G. Bunker, Jr.
                                                        Richard G. Bunker, Jr.
                                                        Chief Executive Officer




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